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 1   DAVID A. TORRES AND ASSOCIATES
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 2   1318 K. Street
     Bakersfield, CA 93301
 3   Tel: (661)326-0857
     Fax: (661)326-0936
 4   Email: lawtorres@aol.com
 5
                            IN THE UNITED STATES DISTRICT COURT
 6
                          FOR THE EASTERN DISTRICT of CALIFORNIA
 7

 8
                                                   ) Case No.1:11-CR-00353 AWI
     UNITED STATES OF AMERICA,                     )
 9
                                                   )
                    Plaintiff,                     ) STIPULATION AND ORDER TO
10
                                                   ) SETTING CHANGE OF PLEA HEARING
            vs.                                    )
11
                                                   )
     ISREAL MARTIN DEL CAMPO,                      )
12
                                                   )
                    Defendant                      )
13
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
14
     ANTHONY W. ISHII AND ELENA LADAU, ASSISTANT UNITED STATES ATTORNEY:
15
            COMES NOW Defendant, ISREAL MARTIN DEL CAMPO, by and through his
16
     attorney of record, DAVID A. TORRES hereby requesting that a Change of Plea Hearing be set
17
     on Monday, April 29, 2013 at 10:00 a.m. and that the Status Conference currently set for May13,
18
     2013 be vacated.
19
            The Plea Agreement has been signed by Mr. Del Campo and counsel and sent to the
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     United States Attorney’s Office. I spoke to AUSA Elana Landau; she has no objection to setting
21
     the hearing to April 29, 2013.
22
     //
23
     //
24
     //
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                                      Summary of Pleading - 1
                           Case 1:11-cr-00353-DAD-BAM Document 63 Filed 04/23/13 Page 2 of 2


 1                          IT IS SO STIPULATED.

 2   DATED: April 22, 2013                                         Respectfully Submitted,

 3                                                                 /s/ David A Torres         ___
                                                                   DAVID A. TORRES
 4                                                                 Attorney for Defendant
                                                                   Isreal Martin Del Campo
 5

 6
     DATED: April 22, 2013                                         /s/Elana Landau ________
 7                                                                 ELANA LANDAU
                                                                   Assistant U.S. Attorney
 8

 9
                           IT IS SO ORDERED that a Change of Plea hearing be held on Monday, April 29, 2013
10
     at 10:00 AM before Judge Anthony W. Ishii and the Status Conference set for May 13, 2013
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12
     before Magistrate Judge Barbara A. McAuliffe be vacated.

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15   IT IS SO ORDERED.

16   Dated: April 22, 2013
                                                           SENIOR DISTRICT JUDGE
17   DEAC_Signature-END:




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                                                   Summary of Pleading - 2
